     Case 2:90-cv-00520-KJM-SCR            Document 8557        Filed 02/28/25     Page 1 of 6


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 8                                      UNITED STATES DISTRICT COURT
 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11      RALPH COLEMAN, et al.,                            No. 2:90-cv-0520 KJM SCR P
12                         Plaintiff,
13             v.                                         ORDER
14      GAVIN NEWSOM, et al.,
15                         Defendants.
16

17

18            The matter of payment of the Special Master has been referred to the magistrate judge by
19     the district court judge. The court has reviewed the bill for services provided by the Special Master
20     in the above-captioned case through the month of January 2025.
21            Good cause appearing, IT IS HEREBY ORDERED that:
22                    1. The Clerk of the Court is directed to pay to
23                            Pannone Lopes Devereaux & O’Gara LLC
                              Attn: Matthew A. Lopes, Jr., Esq., Special Master
24                            Northwoods Office Park, Suite 215N
                              1301 Atwood Avenue
25                            Johnston, RI 02919
26     the amount of $1,385,491.36 as payment of the statement attached to this order; and
27     ////
28
                                                         1
     Case 2:90-cv-00520-KJM-SCR         Document 8557         Filed 02/28/25      Page 2 of 6


 1                   2. A copy of this order shall be served on the financial department of this court.
 2     Dated: February 27, 2025
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     Case 2:90-cv-00520-KJM-SCR         Document 8557        Filed 02/28/25     Page 3 of 6


 1     RALPH COLEMAN, et al.,                      :
           Plaintiffs,                             :
 2                                                 :       No. Civ. S-90-0520 KJM SCR P
              v.                                   :
 3                                                 :
       EDMUND G. BROWN, JR., et al.                :
 4         Defendants.
 5      The Special Master hereby submits his latest statement for fees and disbursements, including
        those accrued through January 31, 2025.
 6

 7      Matthew A. Lopes, Jr., Special Master
                 Services                                       $36,114.00
 8               Disbursements                                  $39,229.38
 9                                          Total amount due                    $75,343.38
        Kerry F. Walsh, J.D., Deputy Special Master
10                Services                                   $58,196.00
                  Disbursements                              $     0.00
11
                                             Total amount due                   $58,196.00
12
        Kristina M. Hector, J.D.
13                 Services                                     $50,111.00
                   Disbursements                                $     0.00
14
                                             Total amount due                   $50,111.00
15
        Regina M. Costa, MSW., J.D.
16                Services                                      $52,299.00
                  Disbursements                                 $     0.00
17
                                             Total amount due                   $52,299.00
18
        LaTri-c-ea McClendon-Hunt, J.D.
19                 Services                                     $43,758.00
                   Disbursements                                $     0.00
20
                                             Total amount due                   $43,758.00
21
        Michael F. Ryan, Jr.
22                 Services                                     $43,824.00
                   Disbursements                                $     0.00
23
                                             Total amount due                   $43,824.00
24
        Michael A. Milas
25                Services                                      $54,545.00
                  Disbursements                                 $     0.00
26
                                             Total amount due                   $54,545.00
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     Case 2:90-cv-00520-KJM-SCR     Document 8557     Filed 02/28/25   Page 4 of 6


 1      Mario R. McClain, Jr.
                  Services                                $58,656.00
 2                Disbursements                           $     0.00
 3                                     Total amount due                $58,656.00
 4      Alison A. Tate
                   Services                               $56,071.00
 5                 Disbursements                          $     0.00
 6                                     Total amount due                $56,071.00
 7      Mitchell J. Young
                    Services                              $57,996.00
 8                  Disbursements                         $     0.00
 9                                     Total amount due                $57,996.00
10      Rachel Gribbin
                  Services                                $26,167.50
11                Disbursements                           $     0.00
12                                     Total amount due                $26,167.50
13      Lana L. Lopez
                  Services                                $31,743.00
14                Disbursements                           $     0.00
15                                     Total amount due                $31,743.00
16      Cristina Irizarry
                    Services                              $31,152.50
17                  Disbursements                         $     0.00
18                                     Total amount due                $31,152.50
19      Kerry C. Hughes, M.D.
                  Services                                $56,924.00
20                Disbursements                           $ 818.97
21                                     Total amount due                $57,742.97
22      Jeffrey L. Metzner, M.D.
                   Services                               $26,950.00
23                 Disbursements                          $ 1,846.77
24                                     Total amount due                $28,796.77
25      Mary Perrien, Ph.D.
                  Services                                $15,352.00
26                Disbursements                           $ 831.56
27                                     Total amount due                $16,183.56
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     Case 2:90-cv-00520-KJM-SCR       Document 8557     Filed 02/28/25   Page 5 of 6


 1      Patricia M. Williams, J.D.
                   Services                                 $64,354.00
 2                 Disbursements                            $ 3,172.99
 3                                       Total amount due                $67,526.99
 4      Henry A. Dlugacz, MSW, J.D.
                  Services                                  $31,578.00
 5                Disbursements                             $     0.00
 6                                       Total amount due                $31,578.00
 7      Lindsay M. Hayes
                  Services                                  $42,138.00
 8                Disbursements                             $ 3,117.79
 9                                       Total amount due                $45,255.79
10      Timothy A. Rougeux
                 Services                                   $25,142.23
11               Disbursements                              $ 881.30
12                                       Total amount due                $26,023.53
13      Maria Masotta, Psy.D.
                 Services                                   $44,192.00
14               Disbursements                              $ 4,451.79
15                                       Total amount due                $48,643.79
16      Karen Rea PHN, MSN, FNP
                  Services                                  $26,250.00
17                Disbursements                             $ 744.67
18                                       Total amount due                $26,994.67
19
        Brian J. Main, Psy.D.
20                 Services                                 $35,796.00
                   Disbursements                            $     0.00
21
                                         Total amount due                $35,796.00
22
        Sharen Barboza, PhD.
23                Services                                  $37,872.00
                  Disbursements                             $ 2,960.10
24
                                         Total amount due                $40,832.10
25
        Daniel F. Potter, PhD.
26                 Services                                 $58,824.00
                   Disbursements                            $     0.00
27
                                         Total amount due                $58,824.00
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     Case 2:90-cv-00520-KJM-SCR           Document 8557        Filed 02/28/25      Page 6 of 6


 1      Brett L. Johnson, M.D.
                   Services                                      $43,152.00
 2                 Disbursements                                 $ 1,646.39
 3                                            Total amount due                    $44,798.39
 4      Marcus R. Patterson, PsyD.
                  Services                                       $41,160.00
 5                Disbursements                                  $ 2,796.56
 6                                            Total amount due                    $43,956.56
 7      J. David Dawdy, M.A.
                  Services                                       $25,272.00
 8                Disbursements                                  $ 1,784.40
 9                                            Total amount due                    $27,056.40
10      Kerry Eudy, J.D., Ph.D.
                  Services                                       $37,296.00
11                Disbursements                                  $ 1,984.15
12                                            Total amount due                    $39,280.15
13      John S. Wilson, Ph.D., CCHP-MH, CPHQ
                  Services                                       $63,622.00
14                Disbursements                                  $ 2,478.94
15                                            Total amount due                    $66,100.94
16      Darrin A. Bell
                   Services                                      $11,845.00
17                 Disbursements                                 $ 2,057.96
18                                            Total amount due                    $13,902.96
19      Lynn Bissonnette
                  Services                                       $24,355.00
20                Disbursements                                  $ 1,980.41
21                                            Total amount due                    $26,335.41
22

23      TOTAL AMOUNT TO BE REIMBURSED                                             $1,385,491.36
24
        Receipts for justification of reported expenditures are available upon request.
25
        Respectfully submitted,
26
        /s/ Matthew A. Lopes, Jr.
27
        Matthew A. Lopes, Jr.
28      Special Master
                                                         6
